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                         N THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF LOUISIANA

   IN THE MATTER OF:                             *              NO.     18-13243
                                                 *
   DUC TRAN                                      *              SECTION A
   LYNN MAI                                      *
                                                 *              CHAPTER 7
          Debtors                                *
   *      *     *         *      *       *       *

     ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE TO RETAIN BK GLOBAL
   REAL ESTATE SERVICES AND GARDNER REALTORS TO PROCURE CONSENTED
            PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330

          Upon the Notice and Application of Wilbur J. “Bill” Babin, Jr., the trustee in the above-

   captioned case (“Trustee”), to Retain BK Global Real Estate Services (“BKRES”) and Gardner

   Realtors (“Listing Agent”) to Procure Consented Public Sale pursuant to 11 U.S.C. § § 327, 328

   and 330 (“Application”) [P. 38], the Court having reviewed and considered the Notice, Application

   and the Affidavit of Disinterestedness and having found good and sufficient cause appearing therefor

   and the same to be in the best interest of Debtor and the creditors the Court hereby FINDS that:

          A.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).

          B.      Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C. §§

                  1408 and 1409.

          C.      Notice of the Application was sufficient under the circumstances.

          Based upon the foregoing findings of fact,

          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

          1.      The Application is hereby APPROVED.

          2.      Defined terms not otherwise defined herein have the meanings given to them in the

                  Application and the Affidavit.

          3.      The Trustee is authorized to retain and compensate BKRES and local licensed
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                 Listing Agent to provide the necessary professional assistance and representation

                 required by the Trustee to fulfill the Trustee’s duties pursuant to 11 U.S.C. § 704 in

                 order to procure Secured Creditor’s Consent, and otherwise market and sell the

                 Property, in Debtor’s Chapter 7 case pursuant to Sections 327, 328(a) and 330 of the

                 Bankruptcy Code, and Bankruptcy Rules 2014 and 2016, in accordance with the

                 terms and conditions set forth in the BKRES Agreement, the Listing Agreement, and

                 this Order. BKRES and Listing Agent shall not split or otherwise share their fees

                 with any other person or entity.

   1.    BKRES and Listing Agent are disinterested persons within the meaning of Bankruptcy Code

         Section 101(14).

   2.    BKRES and Listing Agent shall be compensated in accordance with the BKRES Agreement

         and Listing Agreement, respectively, and such compensation shall not hereafter be subject

         to challenge except under the standard of review set forth in Section 330 of the Bankruptcy

         Code.

   3.    BKRES and Listing Agent shall be authorized to receive and retain their fees from Secured

         Creditor at the successful closing of the sale of the Property without necessity of further

         order of the Court. The estate shall, in no circumstance, be obligated to compensate BKRES

         or Listing Agent in such event and BKRES and Listing Agent shall not have a claim against

         the estate for any unpaid amounts. BKRES and Listing Agent, and anyone claiming by,

         through or under either of them, shall only have recourse for recovering its fee to Secured

         Creditor. The estate shall have no liability for any such claim.

   4.    Trustee is hereby authorized to engage Brokers BKRES and Listing Agent to provide

         reasonable and necessary property preservation, maintenance, and upkeep services to the
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          subject estate Property to facilitate the sale of the Property for the benefit of the Secured

          Creditor(s) and bankruptcy estate, and to reimburse the Brokers in a maximum amount not

          to exceed $500.00 for the approved reasonable, necessary costs and expenses of preserving,

          or disposing of, the subject Property, without the need for further Order.

   5.     Notice of the Application was adequate and proper.

   6.     This Court shall retain jurisdiction to hear and determine all matters arising from or related

          to the implementation of this Order.

          IT IS FURTHER ORDERED that movant shall serve a copy of this Order on the required

   parties who will not receive notice through the ECF System pursuant to the Federal Rules of

   Bankruptcy Procedure and the Local Bankruptcy Rules and file a certificate of service to that effect

   within three (3) days.

          New Orleans, Louisiana, March 19, 2019.



                                                        Hon. Elizabeth W. Magner
                                                        U.S. Bankruptcy Judge
